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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


 CAROL A. WILSON, etc., et al.,          )       CASE NO. 2:17-cv-00671
                                         )
         Plaintiffs,                     )       JUDGE GRAHAM
                                         )
 v.                                      )
                                         )       DEFENDANT’S ANSWER AND
 KURTZ BROS., INC.,                      )       COUNTERCLAIM TO PLAINTIFFS’
                                         )       AMENDED COMPLAINT
         Defendant.                      )
                                         )


       Now comes the Defendant, Kurtz Bros., Inc., by its undersigned counsel,

and for its Answer to Plaintiffs’ Amended Complaint, states as follows:

       1.      Defendant admits that this Court has jurisdiction over the claims in

this case and that venue is proper in this Court, but denies the remaining

allegations contained in Paragraph 1 of Plaintiffs’ Amended Complaint.

       2.      Defendant denies the allegations contained in Paragraph 2 of

Plaintiffs’ Amended Complaint for lack of knowledge or information sufficient to

form a belief as to the truth thereof.

       3.      Defendant denies the allegations contained in Paragraph 3 of

Plaintiffs’ Amended Complaint for lack of knowledge or information sufficient to

form a belief as to the truth thereof.

       4.      Defendant denies the allegations contained in Paragraph 4 of

Plaintiffs’ Amended Complaint for lack of knowledge or information sufficient to

form a belief as to the truth thereof.



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       5.      Defendant denies the allegations contained in Paragraph 5 of

Plaintiffs’ Amended Complaint for lack of knowledge or information sufficient to

form a belief as to the truth thereof.

       6.      Defendant denies the allegations contained in Paragraph 6 of

Plaintiffs’ Amended Complaint for lack of knowledge or information sufficient to

form a belief as to the truth thereof.

       7.      Defendant admits that it is an Ohio Corporation with its principal

place of business in Independence, Ohio, but denies the remaining allegations

contained in Paragraph 7 of Plaintiffs’ Amended Complaint.

       8.      Defendant admits the allegations contained in Paragraph 8 of

Plaintiffs’ Amended Complaint.

       9.      The allegations contained in Paragraph 9 of Plaintiffs’ Amended

Complaint are legal conclusions which require neither admission nor denial.

       10.     Defendant denies the allegations contained in Paragraph 10 of

Plaintiffs’ Amended Complaint.

       11.     Defendant admits the allegations contained in Paragraph 11 of

Plaintiffs’ Amended Complaint.

       12.     Defendant admits the allegations contained in Paragraph 12 of

Plaintiffs’ Amended Complaint.

       13.     Defendant admits that it may contributions on behalf of its

employees who were covered by the applicable agreements it executed, but

denies the remaining allegations contained in Paragraph 13 of Plaintiffs’

Amended Complaint.


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       14.     Defendant admits that it has not allowed Plaintiffs to audit books

and records for employees who are not subject to agreements that were entered

into by Defendant, and denies the remaining allegations contained in Paragraph

14 of Plaintiffs’ Amended Complaint.

       15.     In response to Paragraph 15 of Plaintiffs’ Amended Complaint,

Defendant restates its responses to Paragraphs 1 through 14 above, and denies

the remaining allegations contained therein.

       16.     Defendant denies the allegations contained in Paragraph 16 of

Plaintiffs’ Amended Complaint.

       17.     In response to Paragraph 17 of Plaintiffs’ Amended Complaint,

Defendant restates its responses to Paragraphs 1 through 16 above, and denies

the remaining allegations contained therein.

       18.     Defendant denies the allegations contained in Paragraph 18 of

Plaintiffs’ Amended Complaint.

       19.     In response to Paragraph 19 of Plaintiffs’ Amended Complaint,

Defendant restates its responses to Paragraphs 1 through 18 above, and denies

the remaining allegations contained therein.

       20.     Defendant denies the allegations contained in Paragraph 20 of

Plaintiffs’ Amended Complaint.

       21.     In response to Paragraph 21 of Plaintiffs’ Amended Complaint,

Defendant restates it responses to Paragraphs 1 through 20 above, and denies

the remaining allegations contained therein.




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       22.     Defendant denies the allegations contained in Paragraph 22 of

Plaintiffs’ Amended Complaint.

       23.     Defendant denies that Plaintiff is entitled to any of the relief set forth

in the various prayers for relief contained in Plaintiffs’ Amended Complaint.

       24.     Defendant denies each and every allegations of Plaintiffs’ Complaint

not specifically admitted hereinabove.

                               ADDITIONAL DEFENSES

       1.      Plaintiffs’ Complaint fails to state a claim upon which relief can be

granted.

       2.      Some or all of Plaintiffs claims are barred by the doctrines of waiver,

estoppel and/or unclean hands.

       3.      Defendant was not bound to a collective bargaining agreement for

the period during which contributions are sought.

       4.      Defendant was not obligated to make contributions to Plaintiff Fund

during the period in question.

       WHEREFORE, Defendant respectfully requests that Plaintiffs’ Amended

Complaint be dismissed in its entirety, with prejudice, and that Defendant be

awarded its attorney’s fees and costs in this case.

                                  COUNTERCLAIMS

       Now comes Defendant Kurtz Bros., Inc., by and through its undersigned

counsel, and for its Counterclaims against Plaintiffs hereby states as follows:

       1.      Defendant’s    employees     performed    work    under    the   Satellite

Agreement (Exhibit B to Plaintiffs’ Amended Complaint), including prior versions


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of such agreement, from the late 1980s until early 2012, when all such work

ceased. After the cessation of that work, Defendant notified Plaintiffs that the

Satellite Agreement was terminated on January 4, 2014. Plaintiffs determined

that Defendant had completely withdrawn from the applicable Plans, and on

June 17, 2014 they assessed withdrawal liability against Defendant for such

complete withdrawal in the total amount of $401,157. Defendant has made

quarterly payments of the assessed withdrawal liability while challenging same,

as required by 29 U.S.C. §1399(c).

       2.      On September 15, 2014, Defendant, through counsel, requested

review of Plaintiff’s withdrawal liability determination. Plaintiffs responded to

that request for review, though counsel, on January 15, 2015.

       3.      Plaintiffs did not have a policy relating to arbitration procedures to

be followed with respect to a challenge to a withdrawal liability assessment. On

March 12, 2015, Defendant initiated arbitration regarding Plaintiffs’ withdrawal

liability determination, pursuant to 29 U.S.C. §1401. Plaintiffs and Defendant,

through counsel, agreed to a process for selecting an arbitrator. Counsel for

each party exchanged a list of potential arbitrators.         The parties, through

counsel, agreed to utilize Lawrence Feheley as the arbitrator to hear the

Defendant’s appeal of the withdrawal liability determination. Arbitrator Feheley

accepted the appointment as the arbitrator.        The parties engaged in written

discovery relating to that arbitration.

       4.      On August 25, 2016, Defendant’s counsel requested Arbitrator

Feheley to issue a subpoena in connection with certain information being sought


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in connection with the arbitration.      On August 26, 2016, Arbitrator Feheley

advised the parties that he could no longer serve as an arbitrator in this matter.

       5.      The Plaintiffs, through their counsel, initially indicated that a new

arbitrator would need to be selected and that Plaintiffs would consider one of the

other arbitrator previously identified by counsel for the parties. At the same

time, Plaintiffs through their counsel, requested an audit which is the subject of

Plaintiffs’ Amended Complaint. Subsequently, Plaintiffs’ counsel suggested that

the parties might want to consider using the process for selecting an arbitrator

established by the American Arbitration Association.          The selection of an

arbitrator under the AAA procedure would cause Defendant to incur significant

additional expense not previously required.

       6.      The parties engaged in some efforts to resolve their disputes. When

it was apparent those efforts would not be successful, Defendant’s counsel

communicated with Plaintiffs’ counsel regarding the method for selecting an

arbitrator to proceed with arbitration of the withdrawal liability claim. Plaintiffs’

counsel advised Defendant’s counsel that it was Plaintiffs position that any effort

to pursue that withdrawal liability claim by the selection of a replacement

arbitrator was untimely. Plaintiffs through their counsel, have refused to select

a replacement arbitrator to hear the withdrawal liability claim and to otherwise

proceed with the arbitration which was previously initiated by Defendant.

                                      COUNT I

       7.      Defendant restates the allegations contained in Paragraphs 1-6

above as if fully stated herein.


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       8.      Defendant properly initiated arbitration proceedings regarding

Plaintiff’s withdrawal liability claim pursuant to 29 U.S.C. §1401.

       9.      Subsequent to Arbitrator Feheley’s withdrawal from that case,

Plaintiffs have refused to select a new arbitrator and proceed with that

arbitration.

       10.     Plaintiffs’ actions violate 29 U.S.C. §1401.

       11.     Plaintiffs should be compelled to select a replacement arbitrator

from the previous list exchanged between counsel for the parties and proceed

with arbitration regarding their withdrawal liability determination and

Defendant’s challenges to same.

                                      COUNT II

       12.     Defendant restates the allegations contained in Paragraphs 1

through 11 above as if fully stated herein.

       13.     Plaintiffs have previously indicated that Defendant has completely

withdrawn from the applicable Plans and assessed withdrawal liability based on

that determination.

       14.     Plaintiffs should be estopped from seeking to now claim that

Defendant should still be a contributing employer to the Plans.

       15.     Alternatively, if Defendant is determined to be a contributing

employer to the Plans, then Plaintiffs should be estopped from collecting any

withdrawal liability payments from Defendant and Plaintiffs should be required

to repay to Defendant the full amount of all quarterly withdrawal liability

payments previously made, which currently total $173,082.00 plus interest, and


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also to pay to Defendant all attorney’s fees incurred by Defendant in pursuing

the withdrawal liability claim.

       WHEREFORE, Defendant request that this Court issue an Order requiring

Plaintiffs to select an arbitrator under the previously agreed process and proceed

with arbitration of its withdrawal liability claim. In addition, Defendant requests

that this Court issue an Order dismissing Plaintiffs’ claims in there Amended

Complaint or, in the alternative, requiring Plaintiffs to dismiss their prior

withdrawal liability determination and repay all withdrawal liability payments

previously made by Defendant, and reimburse Defendant for its attorney’s fees

incurred in defending against those withdrawal liability claims.

                                      Respectfully submitted,

                                      /s/ James D. Kurek
                                      James D. Kurek, Trial Attorney (0023523)
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                           CERTIFICATE OF SERVICE


       This is to certify that on foregoing Defendant’s Answer and Counterclaim

to Plaintiffs’ Amended Complaint has been filed electronically. Notice of this filing

will be sent to all parties by operation of the court’s electronic filing system.

Parties may access this filing through the court’s system. Notice of this filing

was also sent via email to:

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Attorneys for Plaintiffs



                                       /s/ James D. Kurek
                                       James D. Kurek




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